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1    Ali Shahrokhi
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     Email: Alibe76@gmail.com
4    Plaintiff in Propia Persona
5
                         UNITED STATES DISTRICT COURT
6                             LAS VEGAS, NEVADA
7
     ____________________________________
8
     ALI SHAHROKHI, individually                      )   Case No. 2:20-cv-01623-JAD-NJK
9    and as natural father and next                   )   ORDER GRANTING
     friend for B.E.S, minor                          )    PLAINTIFF ALI SHAHROKHI’S
10
                                                      )    MOTION FOR FOURTEEN (14)
11                                                    )    DAY EXTENSION OF TIME TO
12                                                    )    FILE RESPONSES TO
     Plaintiff,                                       )    DEFENDANTS THOMAS
13                                                    )    STANDISH AND PHILIP
14         vs.                                        )    SPRADLING’S MOTION TO
                                                      )    DISMISS (ANTI-SLAPP)
15   JUDGE MATTHEW HARTER                             )    [ECF. 15]; KIZZY BURROW’S
16   In His Individual Capacity,                      )   JOINDER…, KIZZY BURROW’S
     THOMAS STANDISH,                                 )   MOTION TO DISMISS
17   PHILIP SPRADLING, and                            )   (ANTI-SLAPP) [ECF. 18]; AND
18   KIZZY BURROW,                                    )   DEFENDANT JUDGE
                                                      )   MATHEW HARTER’S MOTION
19
     Defendants.                                      )   TO DISMISS… [ECF. 28].
20                                                    )
                                                      )   (FIRST REQUEST)
21
     ___________________________________              )
22
                  MOTION FOR REQUEST TO EXTEND DEADLINE
23
          Plaintiff, ALI SHAHROKHI, in proper person, hereby submits his
24
     Motion for Fourteen (14) Day Extension of Time to File Responses to
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     Defendants’ Motions to Dismiss [ECF. 15]; [ECF. 18]; and [ECF. 28]. This is
26
     the First Request for such extension of time.
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1     (1) As outlined below, good cause exists to grant the requested extension
2    (the motion is not being made for improper purposes and/or being made for
3    purposes of unreasonable delay).
4     (2) A serious personal family matter has impacted my response time.

5    Approximately, a week prior to Defendant Standish and Spradling’s Motion
6    to Dismiss [ECF. 15] being filed, my sister in California died. I have been
7    travelling back and forth handling her affairs.

8     (3) Additionally, I was served with three Motions To Dismiss within a

9    week of my sister’s death and all require concurrent responses.
      (4) This case is very important to me and as a pro se litigant, the topics are
10
     complex and requires a lot of independent research on my part.
11
      (5) The issues presented in the Motions to Dismiss are numerous and I
12
     respectfully ask this Court for an additional Fourteen (14) days so that I may
13
     respond properly.
14
      (6)    This case is complex and requires me, as a pro se litigant, to perform
15
     quite a bit of independent research.
16
            Accordingly, a short fourteen day extension of time to file responses to
17
     [ECF. 15]; [ECF. 18]; and [ECF. 28] is being requested.
18
     IT IS SO ORDERED.
19          DATED this 20th of October, 2020.
20   Dated: October 21, 2020

21                                                      ALI SHAHROKHI
                                                        _________________________
                                                        United States Magistrate Judge
22
23                                                  <Ez:;
                                                        ________________________________
                                                        Ali Shahrokhi
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